UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 BIGFOOT VENTURES LLC,

 Plaintiff,                                               Civil Action No.: 18-cv-05340

 v.                                                        COMPLAINT FOR
                                                       DECLARATORY JUDGMENT
 ILYA S. SAVENOK,

 Defendant.

         Plaintiff, Bigfoot Ventures LLC (“Bigfoot” or “Plaintiff”), by and through its

attorneys, Morton & Associates LLP, and as for its Complaint for Declaratory Judgment

against Defendant Ilya S. Savenok (“Savenok” or “Defendant”) alleges, upon information

and belief, as follows:

                                NATURE OF THE ACTION

1.       This is an action under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.,

      for a declaration that Plaintiff does infringe upon any of Defendant’s copyright-

      protected works, including those appearing on www.thecelebritycafe.com.

                                          PARTIES

2.       Bigfoot is a limited liability company, duly organized and existing under the laws

      of the State of New York, with a principal place of business in New York County.

3.       Upon information and belief, Savenok is an individual domiciled at 417 Pulaski

      Street, Brooklyn, NY 11221.

                              JURISDICTION AND VENUE

4.       This Court has subject matter jurisdiction over the instant action pursuant to 28

      U.S.C. §§ 1331, 1338. The claims alleged in this Complaint arise under the




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     Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., and the controversies to be

     resolved herein arise under the U.S. Copyright Act, 17 U.S.C. § 101, et seq.

5.      This Court has personal jurisdiction over Savenok, pursuant to CPLR § 301,

     because Savenok is domiciled in the State of New York..

6.       Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because Savenok

     resides in Brooklyn.

                                 STATEMENT OF FACTS

                       Plaintiff Receives a Cease and Desist Letter

7.      On or around August 30, 2018, Plaintiff received a letter from Defendant’s

     counsel, James H. Freeman, alleging that, as the purported owner of

     www.thecelebritycafe.com (the “Website”), on March 21, 2017, Bigfoot ran an article

     on the Website entitled ‘Wyclef Jean’, which prominently featured a photograph

     allegedly owned by Savenok. The cease and desist letter, dated August 27, 2018 (the

     “Letter”) is annexed hereto as Exhibit A.

8.      Mr. Freeman premised his allegations upon nothing more than his conclusory

     statement that ‘it appears you operate the [Website]’, without attaching a scintilla of

     evidence that supported the foregoing.

9.      Defendant’s counsel asserted that, as the owner of the www.thecelebritycafe.com,

     Bigfoot infringed upon his federally registered photograph of Wyclef Jean, a

     renowned musical artist, assigned Copyright Reg. No. VA 2-054-523 (the

     “Photograph”), by allegedly re-publishing the Photograph in an article without a

     license or authorization.




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10.       The Letter concluded with a demand that Bigfoot either produce evidence

      illustrating any license or authority to re-publish the Photograph on the Website

      within 14 days calendar days or contact the undersigned to arrange for a licensing fee.

11.       When Plaintiff did not respond to the Letter or the allegations contained therein,

      on September 19, 2018, another counsel for Defendant, Richard Liebowitz, e-mailed

      Bigfoot’s undersigned counsel regarding copyright infringement on the Celebrity

      Café Website. The e-mail also attached a draft of a complaint entitled Savenok v.

      Bigfoot Ventures LLC, which had not yet been filed but which Mr. Liebowitz wanted

      to discuss. The September 19, 2018 e-mail is annexed hereto as Exhibit B.

       Plaintiff Does Not Own or Operate the www.thecelebritycafe.com Website

12.       Plaintiff did not respond to Defendant’s Letter or subsequent e-mail for a reason,

      and that is the fact that it does not own or operate the Website.

13.       According to comprehensive WHOIS records, the Website is owned by The

      Celebrity Cafe Limited, an entity incorporated in the United Kingdom, with a

      registered office address in Manchester, United Kingdom.

14.       Bigfoot, itself a New York entity, and The Celebrity Cafe Limited are not in a

      partnership, joint venture or otherwise affiliated.

15.       Bigfoot is in no way responsible or liable for the conduct of the entity The

      Celebrity Cafe Limited, the Website or any content that appears on it.

16.       By virtue of the foregoing, Plaintiff is compelled to seek a declaration from this

      Court that he has not infringed upon Defendant’s intellectual property as alleged in

      the Letter.




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                                    CLAIM FOR RELIEF

                   Declaratory Judgment of No Copyright Infringement

17.      Plaintiff hereby repeats each and every allegation set forth in the preceding

      paragraphs of this Complaint as if fully set forth herein.

18.      Defendant alleges that, as the owner and operator of the Website, Plaintiff is

      infringing upon its copyright-protected works appearing on its

      www.thecelebritycafe.com website.

19.      An actual, present and justiciable controversy exists between Plaintiff and

      Defendant concerning whether or not Plaintiff is infringing upon Defendant’s

      copyright-protected material.

20.      Plaintiff seeks a Declaratory Judgment from this Court that, because Bigfoot is

      not affiliated with the Website, it does not have any control over, and is not

      responsible for, any of the infringing material that the Website purportedly features.



WHEREFORE, based on the foregoing, Plaintiff demands judgment against Defendant

as follows:

      i. A declaration that Plaintiff does not infringe upon any of Defendant’s copyright-

         protected works, including those appearing on www.thecelebritycafe.com.

      ii. Attorneys’ fees and the costs and disbursements of this action.

      iii. Such other and further relief that this Court deems just and proper.




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                                    JURY DEMAND

      Plaintiff respectfully requests a trial by jury as to all issues.


Dated: New York, New York
       September 21, 2018


                                                      Morton & Associates LLP



                                                     By:_______________________
                                                     Roman A. Popov, Esq. (RP7625)
                                                     Attorney for Plaintiff
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                                                     rp@moas.com




                                              5
EXHIBIT A
	
    EXHIBIT B
                                                                       Roman Popov (Morton Associates) <rp@moas.com>



Savenok v. BigFoot Ventures LLC
Richard Liebowitz <RL@liebowitzlawfirm.com>                                                 Wed, Sep 19, 2018 at 10:19 PM
To: rp@moas.com
Cc: Joe Dunne <jd@liebowitzlawfirm.com>

 Dear Roman,

 We represent Ilya Savenok. I see you have represented BigFoot in past cases. I wanted to reach out to your regarding
 a copyright infringement on The Celebrity Cafe website. See the attached Draft Complaint. We have sent a cease and
 desist letter to your client who has not responded. Please let me know if you are representing them and are available
 to discuss.

 Thank you.

 Best,

 Richard Liebowitz, Esq.
 Liebowitz Law Firm, PLLC
 t.516-233-1660



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  4 attachments
      Ilya S. Savenok v BigFoot Ventures LLC Complaint DC.pdf
      102K
      Ilya S. Savenok v BigFoot Ventures LLC ex A.pdf
      66K
      Ilya S. Savenok v BigFoot Ventures LLC ex B.pdf
      451K
      Ilya S. Savenok v BigFoot Ventures LLC ex C (1).pdf
      400K
